                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                           NO. 3:85CR00062-RLV




UNITED STATES OF AMERICA                          )
                                                  )
     v.                                           )
                                                  )
WAYNE PORTER                                      )
_______________________________________           )


                                 NOTICE OF APPEAL

       NOW COMES Wayne Porter, through counsel and pursuant to Rule 4 (b) of the

Federal Rules of Appellate Procedure, and hereby gives notice of appeal of the

Judgment entered on August 26, 2014 in accordance with the Court’s Order denying

and dismissing his motion filed pursuant to former Rule 35(a) of the Federal Rules of

Criminal Procedure, signed on August 26, 2014, to the United States Court of Appeals

for the Fourth Circuit.




       This the 5th day of September, 2014.



                                                  Respectfully submitted,

                                                  /s/ Matthew G. Pruden
                                                  Matthew G. Pruden
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                            CERTIFICATE OF SERVICE

      I certify that I have served the foregoing NOTICE OF APPEAL on opposing
counsel by submitting a copy thereof through ECF to:

            Richard Edwards
            Assistant United States Attorney
            100 Otis Street, Suite 233
            Asheville, NC 28801
            Richard.edwards2@usdoj.gov



      This the 5th day of September, 2014.



                                                 Respectfully submitted,

                                                 /s/ Matthew G. Pruden
                                                 Matthew G. Pruden
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